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7
8
                            UNITED STATES DISTRICT COURT
9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11    JEANNETTE CALVO, Individually           Case No.   '20CV1066 JAH WVG
12    and On Behalf of All Others
      Similarly Situated,                     CLASS ACTION
13
14                              Plaintiff,    COMPLAINT FOR VIOLATIONS
                                              OF THE FEDERAL SECURITIES
15                        v.                  LAWS
16
      SORRENTO THERAPEUTICS, INC.,            DEMAND FOR JURY TRIAL
17
      HENRY JI, and MARK R.
18    BRUNSWICK,
19
                                Defendants.
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1          Plaintiff Jeannette Calvo (“Plaintiff”), individually and on behalf of all other
2
     persons similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s
3
     complaint against Defendants, alleges the following based upon personal knowledge
4
5    as to Plaintiff and Plaintiff’s own acts, and information and belief as to all other
6
     matters, based upon, inter alia, the investigation conducted by and through
7
8    Plaintiff’s attorneys, which included, among other things, a review of the

9    Defendants’ public documents, conference calls and announcements made by
10
     Defendants, United States (“U.S.”) Securities and Exchange Commission (“SEC”)
11
12   filings, wire and press releases published by and regarding Sorrento Therapeutics,

13   Inc. (“Sorrento” or the “Company”), analysts’ reports and advisories about the
14
     Company, and information readily obtainable on the Internet. Plaintiff believes that
15
16   substantial evidentiary support will exist for the allegations set forth herein after a

17   reasonable opportunity for discovery.
18
                                NATURE OF THE ACTION
19
20         1.     This is a federal securities class action on behalf of a class consisting

21   of all persons other than Defendants who purchased or otherwise acquired Sorrento
22
     securities between May 15, 2020, and May 22, 2020, both dates inclusive (the “Class
23
24   Period”), seeking to recover damages caused by Defendants’ violations of the federal

25   securities laws and to pursue remedies under Sections 10(b) and 20(a) of the
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27
28
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1    Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5 promulgated
2
     thereunder, against the Company and certain of its top officials.
3
           2.     Sorrento was founded in 2006 and is based in San Diego, California.
4
5    Sorrento is a clinical stage biopharmaceutical company that engages in the
6
     development of therapies for the treatment of cancer, autoimmune, inflammatory,
7
8    and neurodegenerative diseases.

9          3.     On May 8, 2020, Sorrento announced a collaboration with Mount Sinai
10
     Health System (“Mount Sinai”) for the purpose of “generat[ing] antibody products
11
12   that would act as a ‘protective shield’ against SARS-CoV-2 coronavirus infection,

13   potentially blocking and neutralizing the activity of the virus in naïve at-risk
14
     populations as well as recently infected individuals.”
15
16         4.     On May 15, 2020, during pre-market hours, news sources reported that

17   Sorrento had announced discovery of the STI-1499 antibody, which the Company
18
     described as providing “100% inhibition” of COVID-19. That same day, Defendant
19
20   Henry Ji, Ph.D. (“Ji”), founder and Chief Executive Officer (“CEO”) of Sorrento

21   referred to Sorrento’s breakthrough as a “cure.”
22
           5.     On this news, Sorrento’s stock price rose $4.14 per share, or 158.02%,
23
24   to close at $6.76 per share on May 15, 2020, on unusually heavy trading volume.

25   The stock continued to increase after hours and opened at $9.98 per share on May
26
27
28
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1    18, 2020, trading at a high of $10.00 per share that same day, which represented an
2
     increase of 281.68% from the May 14, 2020 closing price.
3
           6.     Throughout the Class Period, Defendants made materially false and
4
5    misleading statements regarding the Company’s business, operational and
6
     compliance policies.     Specifically, Defendants made false and/or misleading
7
8    statements and/or failed to disclose that: (i) Sorrento had overstated the prospects of

9    the STI-1499 antibody for completely inhibiting COVID-19; (ii) the foregoing, once
10
     revealed, was foreseeably likely to have a material negative impact on the
11
12   Company’s financial results; and (iii) as a result, the Company’s public statements

13   were materially false and misleading at all relevant times.
14
           7.     On May 18, 2020, during pre-market hours, Vital Knowledge Media,
15
16   an online investor information resource, expressed skepticism over Sorrento’s

17   announcement regarding the discovery of the STI-1499 antibody, describing the
18
     Company’s statements as “very disingenuous” and stating that “some of the
19
20   narratives around drugs and vaccines” needed to be tempered.

21         8.     On this news, Sorrento’s stock price fell $0.26 per share, or 3.85%, to
22
     close at $6.50 per share on May 18, 2020.
23
24         9.     On May 19, 2020, during pre-market hours, BayStreet.ca Media Corp

25   (“BayStreet”), a leading Canadian online investor news resource, published an
26
     article entitled “Sell Sorento,” which alleged that statements made by Defendant Ji
27
28
                                               3
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1    about the STI-1499 antibody were misleading. Specifically, the article called into
2
     question Ji’s representations to Fox News, wherein Ji stated “[w]e want to emphasize
3
     there is a cure” and “[t]here is a solution that works 100 percent,” noting that
4
5    “[a]stute investors should recognize that no true biotechnology firm would make
6
     such a claim” and “Sorrento may just want to get attention and push up the value of
7
8    its stock” given that “[i]ts balance sheet is poor with a debt/equity of 2 times.” The

9    article ultimately concluded by calling the Company’s stock “speculative” and
10
     cautioned investors to “[a]void.”
11
12         10.    On this news, Sorrento’s stock price fell $1.08 per share, or 16.62%, to

13   close at $5.42 per share on May 19, 2020.
14
           11.    On May 20, 2020, Hindenburg Research (“Hindenburg”) published a
15
16   report (the “Hindenburg Report”) doubting the validity of Sorrento’s claims and

17   calling them “sensational,” “nonsense” and “too good to be true.” Hindenburg spoke
18
     with researchers at Mount Sinai who stated that Sorrento’s announcement was “very
19
20   hyped” and that “nothing in medicine is 100%.” The Hindenburg Report also

21   asserted that Sorrento faced significant solvency concerns ahead of its
22
     announcement regarding a supposed COVID-19 cure, citing statements by former
23
24   employees, and asserted that “Sorrento’s actions are manipulative at the worst

25   possible time and simply amount to an attempt to shamelessly profiteer off the
26
     pandemic.”
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1          12.    However, that same day, Defendant Ji appeared on Yahoo! Finance to
2
     rebut the Hindenburg Report, stating that “investor[s] suspecting . . . another pump
3
     and dump” were wrong and that “when you see a virus is not infecting the healthy
4
5    cell, you know you have the real deal” and “eventually the market [will] catch[] up.”
6
           13.    On the Hindenburg Report and rebuttal news, Sorrento’s stock price
7
8    closed at $5.70 per share on May 20, 2020, representing a decline of $4.30 per share,

9    or 43.00%, from the Class Period high, on unusually high volume.
10
           14.    Finally, on May 22, 2020, Hindenburg published a post on Twitter,
11
12   alleging that, moments ago, Defendant Ji had “walked back his comments about

13   having a cure,” that Hindenburg “believe[s] this amounts to flagrant securities fraud
14
     when compared to his statements to Fox [News] last week,” and “encourag[ed]
15
16   regulators to investigate any stock sales in the interim.” Specifically, Hindenburg

17   cited comments Ji made in an interview with BioSpace, an online life science
18
     industry news outlet. The BioSpace article stated that in a May 21, 2020 interview
19
20   with Defendants Ji and Mark R. Brunswick, Ph.D. (“Brunswick”), Ji “insist[ed] that

21   they did not say it was a cure.” Ji is quoted as saying:
22
           [I]f it gets through safety studies, if it demonstrates efficacy, it
23         potentially is a cure—if you have the antibody in the blood and it
24         prevents infection. After virus infection, if it blocks the virus from
           replicating in healthy cells continuously, you might have a cure. We
25         cannot cure the late-stage patients, on ventilators, because of all the
26         other comorbidities and complications. Those are not the job of the
           antibodies.
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1    (Emphases in original.)
2
            15.    On this news, Sorrento’s stock price closed at $5.07 per share on May
3
     22, 2020, representing a decline of $4.93 per share, or 49.3%, from the Class Period
4
5    high, on unusually high volume.
6
            16.    As a result of Defendants’ wrongful acts and omissions, and the
7
8    precipitous decline in the market value of the Company’s securities, Plaintiff and

9    other Class members have suffered significant losses and damages.
10
                                  JURISDICTION AND VENUE
11
12          17.    The claims asserted herein arise under and pursuant to Sections 10(b)

13   and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5
14
     promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).
15
16          18.    This Court has jurisdiction over the subject matter of this action

17   pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act.
18
            19.    Venue is proper in this Judicial District pursuant to Section 27 of the
19
20   Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Substantial acts in

21   furtherance of the alleged fraud or the effects of the fraud have occurred in this
22
     Judicial District. Many of the acts charged herein, including the dissemination of
23
24   materially false and/or misleading information, occurred in substantial part in this

25   Judicial District. In addition, the Company’s principal executive offices are located
26
     in this Judicial District.
27
28
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1          20.    In connection with the acts alleged in this complaint, Defendants,
2
     directly or indirectly, used the means and instrumentalities of interstate commerce,
3
     including, but not limited to, the mails, interstate telephone communications, and the
4
5    facilities of the national securities markets.
6
                                           PARTIES
7
8          21.    Plaintiff, as set forth in the attached Certification, acquired Sorrento

9    securities at artificially inflated prices during the Class Period and was damaged
10
     upon the revelation of the alleged corrective disclosures.
11
12         22.    Defendant Sorrento is a Delaware corporation with principal executive

13   offices located at 4955 Directors Place, San Diego, California 92121. Sorrento
14
     common stock trades in an efficient market on the Nasdaq Stock Market
15
16   (“NASDAQ”) under the ticker symbol “SRNE.”

17         23.    Defendant Ji was Sorrento’s Co-Founder, Chairman of the Board of
18
     Directors, CEO, and President at all relevant times. He has also served as a Director
19
20   of Sorrento since January 2006, and previously served as Sorrento’s Chief Scientific

21   Officer from November 2008 to September 2012.
22
           24.    Defendant Brunswick was the Vice President of Regulatory Affairs and
23
24   Quality of Sorrento at all relevant times.

25         25.    Defendants Ji and Brunswick are sometimes referred to herein
26
     collectively as the “Individual Defendants.”
27
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1          26.    The Individual Defendants possessed the power and authority to control
2
     the contents of Sorrento’s SEC filings, press releases, and other market
3
     communications.     The Individual Defendants were provided with copies of
4
5    Sorrento’s SEC filings and press releases alleged herein to be misleading prior to or
6
     shortly after their issuance and had the ability and opportunity to prevent their
7
8    issuance or to cause them to be corrected. Because of their positions with Sorrento,

9    and their access to material information available to them but not to the public, the
10
     Individual Defendants knew that the adverse facts specified herein had not been
11
12   disclosed to and were being concealed from the public, and that the positive

13   representations being made were then materially false and misleading.            The
14
     Individual Defendants are liable for the false statements and omissions pleaded
15
16   herein.

17         27.    Sorrento and the Individual Defendants are sometimes collectively
18
     referred to herein as “Defendants.”
19
20                          SUBSTANTIVE ALLEGATIONS

21                                         Background
22
           28.    Sorrento was founded in 2006 and is based in San Diego, California.
23
24   Sorrento is a clinical stage biopharmaceutical company that engages in the

25   development of therapies for the treatment of cancer, autoimmune, inflammatory,
26
     and neurodegenerative diseases.
27
28
                                               8
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1          29.    On May 8, 2020, Sorrento announced a collaboration with Mount Sinai
2
     for the purpose of “generat[ing] antibody products that would act as a ‘protective
3
     shield’ against SARS-CoV-2 coronavirus infection, potentially blocking and
4
5    neutralizing the activity of the virus in naïve at-risk populations as well as recently
6
     infected individuals.”
7
8     Materially False and Misleading Statements Issued During the Class Period

9          30.    The Class Period begins on May 15, 2020, when Fox News reported
10
     that Sorrento had made a “coronavirus antibody breakthrough,” which the Company
11
12   would announce in a press release later that day, citing an exclusive interview with

13   Defendant Ji (the “Fox News Report”). Specifically, Sorrento claimed to have
14
     discovered the STI-1499 antibody, which it stated can provide “100% inhibition” of
15
16   COVID-19.

17         31.    The Fox News Report also quoted Defendant Ji, who touted, in relevant
18
     part: “We want to emphasize there is a cure. There is a solution that works 100
19
20   percent . . . . If we have the neutralizing antibody in your body, you don't need the

21   social distancing. You can open up a society without fear . . . . This puts its arms
22
     around the virus. It wraps around the virus and moves them out of the body . . . .
23
24   This is the best solution . . . .” Defendant Ji’s statement misleadingly referred to

25   Sorrento’s research as a “cure.”
26
27
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1          32.    Additionally, the Fox News Report quoted Defendant Brunswick, who
2
     touted, in relevant part: “As soon as [the COVID-19 antibody] is infused, that patient
3
     is now immune to the disease . . . . For the length of time, the antibody is in that
4
5    system. So, if we were approved [by the FDA] today, everyone who gets that
6
     antibody can go back to work and have no fear of catching COVID-19.” (Alteration
7
8    in original). Defendant Brunswick’s statement misleadingly conflated Sorrento’s

9    finding of 100% inhibition in an in vitro virus infection with 100% inhibition in a
10
     “patient.”
11
12         33.    Later that day, Sorrento issued a press release announcing its discovery

13   of the STI-1499 antibody, which the Company again described as providing “100%
14
     inhibition” of COVID-19 (the “May 2020 Press Release”). Specifically, that press
15
16   release touted, in relevant part, that Sorrento’s “anti-SARS-CoV-2 antibody, STI-

17   1499, demonstrated 100% inhibition of SARS-CoV-2 virus infection in an in vitro
18
     virus infection experiment at a very low antibody concentration”; that “Sorrento has
19
20   been diligently screening billions of antibodies” and, “[a]mong the antibodies

21   showing neutralizing activity, one antibody stood out for its ability to completely
22
     block SARS-CoV-2 infection of healthy cells in the experiments,” namely, STI-
23
24   1499, which “completely neutralized the virus infectivity at a very low antibody

25   dose, making it a prime candidate for further testing and development”; and that
26
27
28
                                              10
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1    “[i]nitial biochemical and biophysical analyses also indicate STI-1499 is a
2
     potentially strong antibody drug candidate.”
3
           34.    Additionally, the May 2020 Press Release quoted Defendant Ji, who
4
5    touted, in relevant part: “Our STI-1499 antibody shows exceptional therapeutic
6
     potential and could potentially save lives following receipt of necessary regulatory
7
8    approvals. We at Sorrento are working day and night to complete the steps necessary

9    to get this product candidate approved and available to the waiting public[.]”
10
           35.    Following this news, Sorrento’s stock price rose $4.14 per share, or
11
12   158.02%, to close at $6.76 per share on May 15, 2020, on unusually heavy trading

13   volume. The stock continued to increase after hours and opened at $9.98 per share
14
     on May 18, 2020, trading at a high of $10.00 per share that same day, which
15
16   represented an increase of 281.68% from the May 14, 2020 closing price.

17         36.    The statements referenced in ¶¶ 30-34 were materially false and
18
     misleading because Defendants made false and/or misleading statements, as well as
19
20   failed to disclose material adverse facts about the Company’s business, operational

21   and compliance policies. Specifically, Defendants made false and/or misleading
22
     statements and/or failed to disclose that: (i) Sorrento had overstated the prospects of
23
24   the STI-1499 antibody for completely inhibiting COVID-19; (ii) the foregoing, once

25   revealed, was foreseeably likely to have a material negative impact on the
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1    Company’s financial results; and (iii) as a result, the Company’s public statements
2
     were materially false and misleading at all relevant times.
3
                                The Truth Begins to Emerge
4
5          37.    On May 18, 2020, during pre-market hours, Vital Knowledge Media,
6
     an online investor information resource, expressed skepticism over Sorrento’s
7
8    announcement regarding the discovery of the STI-1499 antibody, describing the

9    Company’s statements as “very disingenuous” and stating that “some of the
10
     narratives around drugs and vaccines” needed to be tempered.
11
12         38.    On this news, Sorrento’s stock price fell $0.26 per share, or 3.85%, to

13   close at $6.50 per share on May 18, 2020.
14
           39.    On May 19, 2020, during pre-market hours, BayStreet, a leading
15
16   Canadian online investor news resource, published an article entitled “Sell Sorento,”

17   which alleged that statements made by Defendant Ji about the STI-1499 antibody
18
     were misleading. Specifically, the article called into question Ji’s representations to
19
20   Fox News, wherein Ji stated “[w]e want to emphasize there is a cure” and “[t]here is

21   a solution that works 100 percent,” noting that “[a]stute investors should recognize
22
     that no true biotechnology firm would make such a claim” and “Sorrento may just
23
24   want to get attention and push up the value of its stock” given that “[i]ts balance

25   sheet is poor with a debt/equity of 2 times.” The article ultimately concluded by
26
     calling the Company’s stock “speculative” and cautioned investors to “[a]void.”
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                                               12
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1          40.    On this news, Sorrento’s stock price fell $1.08 per share, or 16.62%, to
2
     close at $5.42 per share on May 19, 2020.
3
           41.    On May 20, 2020, Hindenburg published a report doubting the validity
4
5    of Sorrento’s claims and calling them “sensational,” “nonsense” and “too good to be
6
     true.” Hindenburg spoke with researchers at Mount Sinai who stated that Sorrento’s
7
8    announcement was “very hyped” and that “nothing in medicine is 100%.” The

9    Hindenburg Report also asserted that Sorrento faced significant solvency concerns
10
     ahead of its announcement regarding a supposed COVID-19 cure, citing statements
11
12   by former employees, and asserted that “Sorrento’s actions are manipulative at the

13   worst possible time and simply amount to an attempt to shamelessly profiteer off the
14
     pandemic.”
15
16         42.    Specifically, with respect to the comments from the researchers at

17   Mount Sinai, which Sorrento had a collaboration agreement with, the Hindenburg
18
     Report stated, in relevant part:
19
20         When reached via e-mail about the Fox News article, one researcher at
           the Department of Medicine and Microbiology at Mt. Sinai told us:
21
22         “This looks very hyped. You need massive amounts of antibody to
           achieve this. This is the reason why this is not used for influenza. Too
23         expensive, too much antibody needed. This cannot be a solution for
24         everybody. There are no data yet in humans. For Ebola, there were
           several antibodies that worked like this one in vitro, but only a few are
25         protective in vivo. Bottom line, very early in development to know
26         feasibility.”

27
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                                              13
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1          A second Mt. Sinai research worker that we reached via e-mail simply
           told us that: “In general terms…nothing in medicine is 100%.
2
           Nothing.”
3
           We also communicated with Dr. Charles Rice, the Chair in Virology &
4
           Head of the Laboratory of Virology and Infectious Disease at
5          Rockefeller University, who told us:
6
           “I don’t know the details of the Sorrento MAb but their claims at this
7          apparent stage of development, without clinical data, seem
           overstated. There are dozens of groups developing these antibodies
8
           and time (and appropriate tests) will tell which are most effective.
9          As a general solution or “cure” it is unlikely that an infused product,
10         even if long lasting, will cover all of the bases needed to control this
           infection.”
11
12         Finally, a PhD at the National Institute of health warned us:

13         “…be cognizant of the stage of the research (ex. if there is only data in
14         vitro, which means in a petri dish).”

15   (Emphases in original.)
16
           43.    Hindenburg also cited “a former C-suite [Sorrento] executive, who
17
18   worked at the company for years and has followed its developments closely,” who

19   stated that, “[i]f you now identify an antibody that binds to an epitope of the viral
20
     spike protein, and you thereby inhibit that virus to bind to the ACE-2 entry receptor
21
22   on the human cell and you thereby inhibit infection, my loose estimate would be that

23   there are literally hundreds of [research and development] groups that have
24
     something like that” (emphasis in original). Furthermore, the former employee
25
26   “warned . . . about making such bold claims with in vitro results,” stating, “you do

27   know that when somebody has data from an agent that shows efficacy in an in vitro
28
                                              14
        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES
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1    assay – that if you then say I have now a cure, then this statement can only be
2
     understood narrowly . . . ” (emphasis in original). The former C-suite executive
3
     also stated “I would have never in my life issued a press release where . . . I say we
4
5    have a cure” (emphasis in original).
6
            44.    The Hindenburg Report also cited two other former Sorrento
7
8    employees. For example, a former Vice President of Sorrento, who worked at the

9    Company recently for about a year, stated “I suggest extreme skepticism regarding
10
     any claims made by Sorrento.” Additionally, a former senior scientist at the
11
12   Company for more than six years stated: “It is too early to really tell if it will translate

13   in vivo. And we would have to see safety data. Also, their announced timeline seems
14
     very aggressive[.]”
15
16          45.    The Hindenburg Report also included the following quote from George

17   Yancopoulos, Co-Founder, President, and Chief Scientific Officer of Regeneron, a
18
     company that is also researching an antibody treatment for COVID-19, which
19
20   provides additional context of the stages of development of some of Sorrento’s

21   competitors in the field:
22
            Several companies have previously announced that they have already
23          generated very potent anti-viral neutralizing antibodies – including our
24          company as we announced a while back. That is only the first step, and
            there are many more steps to manufacture and progress such antibodies
25          into clinical trials – I believe most accounts suggest that our company
26          and probably one other company (Lilly) are the leaders into progressing
            these antibodies into clinical trials, and both of us are planning on doing
27          this in the next few weeks. And then there are the challenges of
28
                                                 15
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1          successfully carrying out these clinical trials, which is also not
           guaranteed.
2
3          I am not aware of any data suggesting Sorrento’s single Ab is as
           good as the many others that had already been previously
4
           generated (such as ours or Lilly’s), nor that they have any of the
5          required downstream capabilities, nor that they have demonstrated any
           capabilities or success previously in other programs (such as the
6
           success we demonstrated with our related efforts against Ebola), and
7          they seemingly are substantially behind the leaders at this time.
8
           So it is very hard to seriously evaluate the Sorrento effort.
9
10   (Emphasis in original.)

11         46.    However, that same day, Defendant Ji appeared on Yahoo! Finance to
12
     rebut the Hindenburg Report, stating:
13
14         So you have the antibody that can prevent the virus infecting healthy
           cells. That means you’re going to have a real product. If you have a real
15         product, eventually the stock is going to be reflecting the assets you
16         have. And we believe right now probably there’s a lot of investor
           excited about this story. However, there is a lot of investor suspecting
17         this is another pump and dump, which is typical, which is normal, but
18         we don’t believe that’s the case. And we have working with academic
           collaborator with a real virus infection. And when you see a virus is not
19         infecting the healthy cell, you know you have the real deal.
20
           47.    The statements referenced in ¶ 46 were materially false and misleading
21
22   because Defendants made false and/or misleading statements, as well as failed to

23   disclose material adverse facts about the Company’s business, operational and
24
     compliance policies.      Specifically, Defendants made false and/or misleading
25
26   statements and/or failed to disclose that: (i) Sorrento had overstated the prospects of

27   the STI-1499 antibody for completely inhibiting COVID-19; (ii) the foregoing, once
28
                                               16
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1    revealed, was foreseeably likely to have a material negative impact on the
2
     Company’s financial results; and (iii) as a result, the Company’s public statements
3
     were materially false and misleading at all relevant times.
4
5          48.    On the Hindenburg Report and rebuttal news, Sorrento’s stock price
6
     closed at $5.70 per share on May 20, 2020, representing a decline of $4.30 per share,
7
8    or 43.00%, from the Class Period high, on unusually high volume.

9          49.    Finally, on May 22, 2020, Hindenburg published a post on Twitter,
10
     alleging that, moments ago, Defendant Ji had “walked back his comments about
11
12   having a cure,” that Hindenburg “believe[s] this amounts to flagrant securities fraud

13   when compared to his statements to Fox [News] last week,” and “encourag[ed]
14
     regulators to investigate any stock sales in the interim.” Specifically, Hindenburg
15
16   cited comments Ji made in an interview with BioSpace, an online life science

17   industry news outlet. The BioSpace article stated that in a May 21, 2020 interview
18
     with Defendants Ji and Brunswick, Ji “insist[ed] that they did not say it was a cure.”
19
20   Ji is quoted as saying:

21         [I]f it gets through safety studies, if it demonstrates efficacy, it
22         potentially is a cure—if you have the antibody in the blood and it
           prevents infection. After virus infection, if it blocks the virus from
23         replicating in healthy cells continuously, you might have a cure. We
24         cannot cure the late-stage patients, on ventilators, because of all the
           other comorbidities and complications. Those are not the job of the
25         antibodies.
26
     (Emphases in original.)
27
28
                                              17
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1          50.    On this news, Sorrento’s stock price closed at $5.07 per share on May
2
     22, 2020, representing a decline of $4.93 per share, or 49.3%, from the Class Period
3
     high, on unusually high volume.
4
5          51.    As a result of Defendants’ wrongful acts and omissions, and the
6
     precipitous decline in the market value of the Company’s securities, Plaintiff and
7
8    other Class members have suffered significant losses and damages.

9                   PLAINTIFF’S CLASS ACTION ALLEGATIONS
10
           52.    Plaintiff brings this action as a class action pursuant to Federal Rule of
11
12   Civil Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who

13   purchased or otherwise acquired Sorrento securities during the Class Period (the
14
     “Class”); and were damaged upon the revelation of the alleged corrective
15
16   disclosures. Excluded from the Class are Defendants herein, the officers and

17   directors of the Company, at all relevant times, members of their immediate families
18
     and their legal representatives, heirs, successors or assigns and any entity in which
19
20   Defendants have or had a controlling interest.

21         53.    The members of the Class are so numerous that joinder of all members
22
     is impracticable. Throughout the Class Period, Sorrento securities were actively
23
24   traded on the NASDAQ. While the exact number of Class members is unknown to

25   Plaintiff at this time and can be ascertained only through appropriate discovery,
26
     Plaintiff believes that there are hundreds or thousands of members in the proposed
27
28
                                               18
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1    Class. Record owners and other members of the Class may be identified from
2
     records maintained by Sorrento or its transfer agent and may be notified of the
3
     pendency of this action by mail, using the form of notice similar to that customarily
4
5    used in securities class actions.
6
            54.       Plaintiff’s claims are typical of the claims of the members of the Class
7
8    as all members of the Class are similarly affected by Defendants’ wrongful conduct

9    in violation of federal law that is complained of herein.
10
            55.       Plaintiff will fairly and adequately protect the interests of the members
11
12   of the Class and has retained counsel competent and experienced in class and

13   securities litigation. Plaintiff has no interests antagonistic to or in conflict with those
14
     of the Class.
15
16          56.       Common questions of law and fact exist as to all members of the Class

17   and predominate over any questions solely affecting individual members of the
18
     Class. Among the questions of law and fact common to the Class are:
19
20                •    whether the federal securities laws were violated by Defendants’ acts
                       as alleged herein;
21
22                •    whether statements made by Defendants to the investing public
                       during the Class Period misrepresented material facts about the
23                     business, operations and management of Sorrento;
24
                  •    whether the Individual Defendants caused Sorrento to issue false and
25                     misleading financial statements during the Class Period;
26
                  •    whether Defendants acted knowingly or recklessly in issuing false
27
                       and misleading financial statements;
28
                                                  19
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1
2                •    whether the prices of Sorrento securities during the Class Period were
                      artificially inflated because of the Defendants’ conduct complained of
3                     herein; and
4
                 •    whether the members of the Class have sustained damages and, if so,
5                     what is the proper measure of damages.
6
           57.       A class action is superior to all other available methods for the fair and
7
8    efficient adjudication of this controversy since joinder of all members is

9    impracticable. Furthermore, as the damages suffered by individual Class members
10
     may be relatively small, the expense and burden of individual litigation make it
11
12   impossible for members of the Class to individually redress the wrongs done to them.

13   There will be no difficulty in the management of this action as a class action.
14
           58.       Plaintiff will rely, in part, upon the presumption of reliance established
15
16   by the fraud-on-the-market doctrine in that:
17               •    Defendants made public misrepresentations or failed to disclose
18                    material facts during the Class Period;
19               •    the omissions and misrepresentations were material;
20
                 •    Sorrento securities are traded in an efficient market;
21
22               •    the Company’s shares were liquid and traded with moderate to heavy
23                    volume during the Class Period;

24               •    the Company traded on the NASDAQ and was covered by multiple
25                    analysts;

26               •    the misrepresentations and omissions alleged would tend to induce a
27                    reasonable investor to misjudge the value of the Company’s
                      securities; and
28
                                                  20
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1
2                •    Plaintiff and members of the Class purchased, acquired and/or sold
                      Sorrento securities between the time the Defendants failed to disclose
3                     or misrepresented material facts and the time the true facts were
4                     disclosed, without knowledge of the omitted or misrepresented facts.

5          59.       Based upon the foregoing, Plaintiff and the members of the Class are
6
     entitled to a presumption of reliance upon the integrity of the market.
7
8          60.       Alternatively, Plaintiff and the members of the Class are entitled to the

9    presumption of reliance established by the Supreme Court in Affiliated Ute Citizens
10
     of the State of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as
11
12   Defendants omitted material information in their Class Period statements in violation

13   of a duty to disclose such information, as detailed above.
14
                                             COUNT I
15
16    (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated
                           Thereunder Against All Defendants)
17
18         61.       Plaintiff repeats and re-alleges each and every allegation contained

19   above as if fully set forth herein.
20
           62.       This Count is asserted against Defendants and is based upon Section
21
22   10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated
23   thereunder by the SEC.
24
           63.       During the Class Period, Defendants engaged in a plan, scheme,
25
26   conspiracy and course of conduct, pursuant to which they knowingly or recklessly
27   engaged in acts, transactions, practices and courses of business which operated as a
28
                                                 21
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1    fraud and deceit upon Plaintiff and the other members of the Class; made various
2
     untrue statements of material facts and omitted to state material facts necessary in
3
     order to make the statements made, in light of the circumstances under which they
4
5    were made, not misleading; and employed devices, schemes and artifices to defraud
6
     in connection with the purchase and sale of securities. Such scheme was intended
7
8    to, and, throughout the Class Period, did: (i) deceive the investing public, including

9    Plaintiff and other Class members, as alleged herein; (ii) artificially inflate and
10
     maintain the market price of Sorrento securities; and (iii) cause Plaintiff and other
11
12   members of the Class to purchase or otherwise acquire Sorrento securities and

13   options at artificially inflated prices. In furtherance of this unlawful scheme, plan
14
     and course of conduct, Defendants, and each of them, took the actions set forth
15
16   herein.

17         64.    Pursuant to the above plan, scheme, conspiracy and course of conduct,
18
     each of the Defendants participated directly or indirectly in the preparation and/or
19
20   issuance of the quarterly and annual reports, SEC filings, press releases and other

21   statements and documents described above, including statements made to securities
22
     analysts and the media that were designed to influence the market for Sorrento
23
24   securities. Such reports, filings, releases and statements were materially false and

25   misleading in that they failed to disclose material adverse information and
26
     misrepresented the truth about Sorrento’s finances and business prospects.
27
28
                                              22
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1          65.      By virtue of their positions at Sorrento, Defendants had actual
2
     knowledge of the materially false and misleading statements and material omissions
3
     alleged herein and intended thereby to deceive Plaintiff and the other members of
4
5    the Class, or, in the alternative, Defendants acted with reckless disregard for the truth
6
     in that they failed or refused to ascertain and disclose such facts as would reveal the
7
8    materially false and misleading nature of the statements made, although such facts

9    were readily available to Defendants. Said acts and omissions of Defendants were
10
     committed willfully or with reckless disregard for the truth. In addition, each
11
12   Defendant knew or recklessly disregarded that material facts were being

13   misrepresented or omitted as described above.
14
           66.    Information showing that Defendants acted knowingly or with reckless
15
16   disregard for the truth is peculiarly within Defendants’ knowledge and control. As

17   the senior managers and/or directors of Sorrento, the Individual Defendants had
18
     knowledge of the details of Sorrento’s internal affairs.
19
20         67.    The Individual Defendants are liable both directly and indirectly for the

21   wrongs complained of herein. Because of their positions of control and authority,
22
     the Individual Defendants were able to and did, directly or indirectly, control the
23
24   content of the statements of Sorrento. As officers and/or directors of a publicly-held

25   company, the Individual Defendants had a duty to disseminate timely, accurate, and
26
     truthful information with respect to Sorrento’s businesses, operations, future
27
28
                                                23
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1    financial condition and future prospects. As a result of the dissemination of the
2
     aforementioned false and misleading reports, releases and public statements, the
3
     market price of Sorrento securities was artificially inflated throughout the Class
4
5    Period. In ignorance of the adverse facts concerning Sorrento’s business and
6
     financial condition which were concealed by Defendants, Plaintiff and the other
7
8    members of the Class purchased or otherwise acquired Sorrento securities at

9    artificially inflated prices and relied upon the price of the securities, the integrity of
10
     the market for the securities and/or upon statements disseminated by Defendants,
11
12   and were damaged thereby.

13         68.    During the Class Period, Sorrento securities were traded on an active
14
     and efficient market. Plaintiff and the other members of the Class, relying on the
15
16   materially false and misleading statements described herein, which the Defendants

17   made, issued or caused to be disseminated, or relying upon the integrity of the
18
     market, purchased or otherwise acquired shares of Sorrento securities at prices
19
20   artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the other

21   members of the Class known the truth, they would not have purchased or otherwise
22
     acquired said securities, or would not have purchased or otherwise acquired them at
23
24   the inflated prices that were paid. At the time of the purchases and/or acquisitions

25   by Plaintiff and the Class, the true value of Sorrento securities was substantially
26
     lower than the prices paid by Plaintiff and the other members of the Class. The
27
28
                                                24
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1    market price of Sorrento securities declined sharply upon public disclosure of the
2
     facts alleged herein to the injury of Plaintiff and Class members.
3
           69.    By reason of the conduct alleged herein, Defendants knowingly or
4
5    recklessly, directly or indirectly, have violated Section 10(b) of the Exchange Act
6
     and Rule 10b-5 promulgated thereunder.
7
8          70.    As a direct and proximate result of Defendants’ wrongful conduct,

9    Plaintiff and the other members of the Class suffered damages in connection with
10
     their respective purchases, acquisitions and sales of the Company’s securities during
11
12   the Class Period, upon the disclosure that the Company had been disseminating

13   misrepresented financial statements to the investing public.
14
                                          COUNT II
15
16      (Violations of Section 20(a) of the Exchange Act Against The Individual

17                                       Defendants)
18
           71.    Plaintiff repeats and re-alleges each and every allegation contained in
19
20   the foregoing paragraphs as if fully set forth herein.

21         72.    During the Class Period, the Individual Defendants participated in the
22
     operation and management of Sorrento, and conducted and participated, directly and
23
24   indirectly, in the conduct of Sorrento’s business affairs. Because of their senior

25   positions, they knew the adverse non-public information about Sorrento’s
26
     misstatement of income and expenses and false financial statements.
27
28
                                               25
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1           73.    As officers and/or directors of a publicly owned company, the
2
     Individual Defendants had a duty to disseminate accurate and truthful information
3
     with respect to Sorrento’s financial condition and results of operations, and to correct
4
5    promptly any public statements issued by Sorrento which had become materially
6
     false or misleading.
7
8           74.    Because of their positions of control and authority as senior officers,

9    the Individual Defendants were able to, and did, control the contents of the various
10
     reports, press releases and public filings which Sorrento disseminated in the
11
12   marketplace during the Class Period concerning Sorrento’s results of operations.

13   Throughout the Class Period, the Individual Defendants exercised their power and
14
     authority to cause Sorrento to engage in the wrongful acts complained of herein. The
15
16   Individual Defendants therefore, were “controlling persons” of Sorrento within the

17   meaning of Section 20(a) of the Exchange Act. In this capacity, they participated in
18
     the unlawful conduct alleged which artificially inflated the market price of Sorrento
19
20   securities.

21          75.    Each of the Individual Defendants, therefore, acted as a controlling
22
     person of Sorrento. By reason of their senior management positions and/or being
23
24   directors of Sorrento, each of the Individual Defendants had the power to direct the

25   actions of, and exercised the same to cause, Sorrento to engage in the unlawful acts
26
     and conduct complained of herein. Each of the Individual Defendants exercised
27
28
                                               26
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1    control over the general operations of Sorrento and possessed the power to control
2
     the specific activities which comprise the primary violations about which Plaintiff
3
     and the other members of the Class complain.
4
5          76.    By reason of the above conduct, the Individual Defendants are liable
6
     pursuant to Section 20(a) of the Exchange Act for the violations committed by
7
8    Sorrento.

9                                 PRAYER FOR RELIEF
10
           WHEREFORE, Plaintiff demands judgment against Defendants as follows:
11
12         A.     Determining that the instant action may be maintained as a class action

13   under Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the
14
     Class representative;
15
16         B.     Requiring Defendants to pay damages sustained by Plaintiff and the

17   Class by reason of the acts and transactions alleged herein;
18
           C.     Awarding Plaintiff and the other members of the Class prejudgment and
19
20   post-judgment interest, as well as their reasonable attorneys’ fees, expert fees and

21   other costs; and
22
           D.     Awarding such other and further relief as this Court may deem just and
23
24   proper.

25                           DEMAND FOR TRIAL BY JURY
26
           Plaintiff hereby demands a trial by jury.
27
28
                                              27
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1    Dated: June 11, 2020
2                                              Respectfully submitted,
3
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